 

Case 3:19-cv-00734-BEN-LL Document 7 Filed 05/22/19 pe eC ER

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UNITED STATES DISTRICT COURT MAY # © 2019
CLERK, U.S. DISTRICT COURT

for the SOUTHERN DISTRIOT OF CALIFORNIA
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Southern District of California VAK/
Case No. 3:19- CV-00734-BEN-LE

Jury Trial: (check one) Xlves [Ino

P.1.C. international, Inc. d.b.a.,
HO Odyssey, a Californian Corporation

 

Plaintiff
- VY -

Steve Charles Goldstein,
an individual residing in California; Pro Se

 

Defendant

THE DEFENDANT'S ANSWER TO THE COMPLAINT
I. THE PARTY FILING THIS ANSWER TO THE COMPLAINT:
Name Steve Charles Goldstein; Pro Se
Street Address 2055 Rockhoff Road |
City and County Escondido, Ca.
State ‘and Zip Code California 92026
Telephone Number 760 481 4356

E-mail Address STEVE@BLUEWAVEDISTRIBUTION.COM

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It. THE ANSWER AND DEFENSES TO THE COMPLAINT

A. The Defendant denies all the allegations made in the complaint unless
specifically admitted herein. The paragraphs of this answer correspond
with the paragraphs in the Plaintiff's complaint, and are numbered

accordingly.

B. The complaint fails to state a claim upon which relief can be granted
because the claims of the Plaintiff are based on a "Non-Complete
Agreement" between the Plaintiff, through its C.E.0., Don Western,
(hereinafter: "Don") which is not enforceable in this jurisdiction.
Furthermore the Plaintiff through Don, has acted in bad faith, by
withholding money due to the Defendant. Also, the Plaintiff through
Don, has copied the Defendant's designs and packaging which the
Defendant created, and all without compensation to the Defendant.
Plaintiff through Don has contacted Defendant's customers, slandered
the reputation of the Defendant thus causing significant monetary

damage to the Defendant of which Defendant demands compensation.

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Nature of the Action

1. The Defendant denies the rights of the Plaintiff to obtain a Declaratory
Judgment against the Defendant, and further declares that Defendant
should not be named as a Defendant in this suit. Furthermore, Defendant
alleges bad faith on behalf of the Plaintiff through Don which in itself
should cause the Court to deny declaratory relief.

2. The Defendant denies that he has committed any false patent marking,
and/or false advertising, as alleged in the complaint.
The Defendant reserves his right to amend this answer when the other
Defendants file their answers or at any other time deemed appropriate.
Finally the Defendant claims that the Plaintiff, through Bon, has

represented to its customers that the packaging and design of its
products are the work product of the Plaintiff and not the Defendant.

The Parties
3, The Defendant lacks sufficient information in regard to the legal entity of
the Plaintiff and therefore denies the allegations made herein. However

the Defendant knows that Plaintiff has at all times acted through Den.

4. The Defendant lacks sufficient information in regard to “Gooper" and
therefore denies the allegations made herein.

5. The Defendant admits that he is a resident of Escondido, California;
however denies the remainder of the allegations made herein.

6 The Defendant denies the allegations made herein.

7. The Defendant denies the allegations made herein.

Jurisdiction and Venue

8. The Defendant lacks sufficient information in regard to the facts alleged
herein and therefore denies.

9. The Defendant denies the allegations made herein.

10. The Defendant denies the allegations made herein.

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11. The Defendant lacks sufficient information in regard to exclusive
jurisdiction and therefore denies the allegations made herein.

12. The Defendant denies the allegations made herein.

13. The Defendant denies the allegations made herein, other than the
allegation that he resides in the District.

14. The Defendant denies the allegations made herein.

H’O Odyssey Background

15. Defendant lacks sufficient information regarding the Plaintiff and
therefore denies the allegations made herein, except for the fact that
the owner and C.E.O. of the Plaintiff is Don.

16. Befendant lacks sufficient information and therefore denies the
allegations made herein.

17, Defendant lacks sufficient information and therefore denies the
allegations made herein.

18. Defendant jacks sufficient information and therefore denies the
allegations made herein.

19. Defendant claims that any so-called "Non-Compete Agreement" as
alleged by Plaintiff is non-binding in the State of California.

20. Defendant alleges that Plaintiff breached any and all agreements made
' between the Parties thus causing significant damage to the Defendant
for which Defendant demands compensation in an amount of not fess

than $500,000.

21. Defendant denies the allegations made herein regarding any Non-
Compete Agreement, alleging further that agreements of "Non-
Compete” are not binding in California.

22. Defendant denies the allegations made herein other than being
terminated by H7O Odyssey.

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23.

24,

25.

Defendant denies the allegations made herein.
Defendant denies the allegations made herein.

Defendant denies the allegations made herein.

Defendant's Infringement Accusations and Threats of Legal Action

Defendant denies infringing any patent; Defendant denies making any threats

of legal action.

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33."

Defendant denies the allegations made herein.
Defendant denies the allegations made herein.
Defendant denies the allegations made herein.
Defendant denies the allegations made herein.

Defendant denies the allegations made herein.

"HO Odyssey Does Not Infringe the Patent-in-Suit"

Defendant on the basis of information and belief alleges that Plaintiff is
infringing the Patent of other parties, including that which belongs to
Gooper Hermetic, Inc.

Defendant lacks sufficient information in regard to Plaintiff's so-called
Patent and therefore denies all allegations made in regard to the so-called
Patent.

Defendant denies the allegations made herein.
Defendant denies the accuracy of claim 1 of the so-called Patent.

Defendant denies the allegations made herein.

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34, Defendant lacks sufficient information and therefore denies all
Plaintiff's allegations in regard to the so-called Patent.

35. Defendant denies the allegations made herein.
36. Defendant denies the allegations made herein.
37. Defendant denies the allegations made herein.
38. Defendant denies the allegations made herein.
| 39. Defendant denies the allegations made herein.
40. Defendant denies the allegations made herein.
41. Defendant denies the allegations made herein.
42. Defendant denies the allegations made herein.
43. Defendant denies the allegations made herein.
44. Defendant denies the allegations made herein.

45, Defendant denies the allegations made herein.

"Defendant's Bags Are Not Protected by the Patent-in-Suit"

Defendant repeats that he does not have sufficient information
regarding Plaintiff's so-called Patent and therefore denies all Plaintiff's
allegations in regard to the so-called Patent. Defendant also denies
Plaintiff's claim that Defendant's "Bags" are not protected by Patent.

46. Defendant denies the allegations made herein,

47. Defendant denies the allegations made herein.

48. Defendant denies the allegations made herein.

45, Defendant denies the allegations made herein.

50. Defendant denies the allegations made herein,

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Defendant's False and Misleading Actions

Defendant denies that he has made any false and/or misteading actions, and
asserts that false and misleading actions were made by Plaintiff and Don.

51. Defendant denies the allegations made herein.

52. Defendant denies the allegations made herein.

53. Defendant denies the allegations made herein.

54, Defendant denies the allegations made herein.

55. Defendant denies the allegations made herein.

56. Defendant denies the allegations made herein.

57. Defendant denies the aliegations made herein.

58. Defendant denies the allegations made herein.

59. Defendant denies the allegations made herein.

Plaintiff's First Claim for Relief

60. Defendant repeats, re-alleges, and incorporates by reference the
preceding allegations as though set forth fully herein.

61. Defendant denies the allegations made herein.
62. Defendant denies the allegations made herein.

63. Defendant denies the allegations made herein.
64. Defendant denies the allegations made herein.
65, Defendant denies the allegations made herein.
66. Defendant denies the allegations made herein.
67. Defendant denies the allegations made herein.

68. Defendant denies the allegations made herein.

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Plaintiff's Second Claim for Relief
(False Patent Marking)
Defendant denies that he has made any false patent marking.

Defendant re-alleges and incorporates by reference the foregoing
allegations as though set forth fully herein.

Defendant denies the allegations made herein.
Defendant denies the allegations made herein.
Defendant denies the allegations made herein.
Defendant denies the allegations made herein.
Defendant denies the allegations made herein.
Defendant denies the allegations made herein.
Defendant denies the allegations made herein.

Defendant denies the allegations made herein.

Plaintiff's Third Claim for Relief
(Violation of the Lanham Act)

Defendant denies that he has committed any violation of the Lanham Act,
and alleges that Plaintiff through Don has committed numerous violations
of the Lanham Act.

The Defendant re-alleges and incorporates by reference the foregoing
allegations as though set forth fully herein.

Defendant denies the allegations made herein.
Defendant denies the allegations made herein.
Defendant denies the allegations made herein.
Defendant denies the allegations made herein.

Defendant denies the allegations made herein.

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AFFIRMATIVE DEFENSES TO THE CLAIMS FOR RELIEF

 

84. The Plaintiff's claim for enforcement of a Non-Competition Agreement
is not enforceable under Californian Law. Therefore, Plaintiff's claims
must be denied.

85.  Estoppel

The Plaintiff through Don has violated Federal law by copying
Defendant's packing and designs and passing them off as his own. The
Plaintiff through Don is in violation of among other laws, the Lanham
Act,

86. Fraud
The Plaintiff has copied its so-called Patent by process of reverse
engineering of an existing Patent owned by one of the named
Defendants, Gooper Hermetic Inc. and/or Philip Naftali.

37. Payment
The Plaintiff through Don, and his daughter, Sarah Byrd, are unlawfully
holding by way of escrow agreement through his daughter, Sarah Byrd
acting as an escrow, nearly $200,000 which belongs to the Defendant,
as a result of an agreement between Plaintiff and Defendant to divide
income received for the sale of certain products.

88. Other
The Plaintiff through Don and his daughter, Sarah Byrd, are holding
money owed the Defendant pursuant to an agreement to divide income

from previous sales.

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89. The Defendant has the following claim against the Plaintiff:
The Plaintiff through Don is in violation of their agreement and
understanding, has copied the designs and packaging of the Defendant,
has passed off the designs as his personal work product and has not
paid any compensation to the Defendant, and also has damaged the
reputation of the Defendant by making false claims about the
Defendant to various customers and mutual acquaintances.
Furthermore the Plaintiff through Don, continues to slander the
Defendant throughout the sport-consumer industry causing significant

damage to Defendant's reputation.

CERTIFICATION

Under Federal Rule of Civil Procedure 11, by signing below, | certify to the
best of my knowledge, information, and belief that this answer: (1} is not
being presented for an Improper purpose, such as to harass, cause
unnecessary delay, or neediessly increase the cost of litigation; (2) is
supported by existing law or by a non-frivolous argument for extending,
medifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation
or discovery; and (4) the answer otherwise complies with the requirements

of Rule 11.

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! agree to provide the Clerk's Office with any changes to my address where
case-related papers may be served. | understand that my failure to keep a
current address on file with the Clerk's Office may result in the dismissal of

my case,

MayZOCy 2019

Date of signing:

   

Signature of Defendant:
' Printed Name of Defendant: Steve Charles Goldstein
Telephone Number: 766 — 481 4356

E-mail Address: STEVE@BLUEWAVEDISTRIBUTION.COM

Prayer for Relief

Wherefore, Defendant requests the Court to reject all claims for relief as
alleged by the Plaintiff herein and order that Plaintiff pay Defendant for
costs incurred in defending this frivolous action; and, such other and
further relief as this Court deems necessary and appropriate.

Furthermore Defendant requests the Court to award monetary damages in
the amount of $500,000 or any other greater amount determined by the

Court.

Dated: May LM 2019
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ee NS

Steve Goldstein, Defendant, Pro Se

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

DECLARATION OF SERVICE

Person Served:

 

Date Served:
Wily 2, LOO

 

I, the undersigned declare under penalty of perjury that I am over the age of eighteen years and
not a party to this action; that I served the above named person the following documents:

in the following manner: (check one)

1)

2)

3)

4)

Executed on

By personally delivering copies to the person served.

By leaving, during usual office hours, copies in the office of the person served
with the person who apparently was in charge and thereafter mailing (by first-class
mail, postage prepaid) copies to ther person served at the place where the copies
were left.

By leaving copies at the dwelling house, usual place of abode, or usual place of
business of the person served in the presence of a competent member of the
household or a person apparently in charge of his office or place of business, at
least 18 years of age, who was informed of the general nature of the papers, and
thereafter mailing (by first-class mail, postage prepaid) copies to the person served
at the place where the copies were left.

By placing a copy in a separate envelope, with postage fully prepaid, for each

address named below and depositing each in the U.S. Mail at
on , 20

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